Case 2:05-cr-20091-SH|\/| Document 31 Filed 08/16/05 Page 1 of 2 Page|D 26

Fn£o g,, f
IN THE UNITED sTATES DISTRICT coURT - o.C,
FoR THE WESTERN DISTRICT oF TENNESSEE 95 AUF
WESTERN DIVISION ’ ' 5 PH h.- 55
UNITED STATES oF AMERICA, qgmm'j*‘b {TWVU
IF£H;J!' r‘;-_J_~[ >
l
Plaimiff, 5
v. NO. 05-20091-13

SIDNEY THURMAN,

Defendant.

 

ORDER OF TRANSFER

 

Judge Samuel H. Mays, Jr. was assigned this case for trial on the criminal rotation
docket. The case is hereby transferred to Judge Mays for all further proceedings

4\
rr rs So oRDERED this l L day of Augusr, 2005.

M\

J. DANIEL BREEN
NIT ED STATES DISTRICT JUDGE

\

 

j.»LS/Q§

\'Ll¥`“j{e &\}aidrg\ ur \,».5"' cl\\..lil Cii
‘ .

{3’

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:05-CR-20091 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

Michael Robert McCusker

U.S. ATTORNEY'S OFFICE- Memphis
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

1\/lemphis7 TN 38103

Stephanie Zander Johnson
U S ATTORNEY'S OFFICE
167 N. Main St

Ste 800

1\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

